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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


TIFFANIE CURRENT,                                CIVIL ACTION NO.

      Plaintiff

VERSUS                                           JUDGE:

HOUSING AUTHORITY OF NEW
ORLEANS,

      Defendant                                  MAGISTRATE JUDGE:



                                      NOTICE OF REMOVAL

                  PLEASE TAKE NOTICE that Defendant Housing Authority of New Orleans

 ("HANO"), with a full reservation of all exceptions, rights, and defenses it has or may have, hereby

 removes the above-captioned action from the Civil District Court for the Parish of Orleans, State

 of Louisiana, to the United States District Court for the Eastern District of Louisiana, pursuant to

 28 U.S.C. §§ 1331, 1441, and 1446, and states as follows:

                  1.    On or about July 8, 2024, Plaintiff Tiffanie Current ("Plaintiff") commenced

 this action by filing a Petition for Judicial Review of Housing Authority Decision to Terminate

 Housing Assistance against HANO in the Civil District Court for the Parish of Orleans, State of

 Louisiana, bearing docket number 2024-06181 (the "Petition,") attached as Exhibit A.

                  2.    Plaintiff is a participant in the Housing Choice Voucher Program (the

 "Program") pursuant to Section 8 of the U.S. Housing Act of 1937, 42 U.S.C. § 1437f. Under the

 Program, HANO subsidizes housing costs for Plaintiff and her four minor children and one

 grandchild. As a participant in the Program, Plaintiff is required to comply with certain regulations


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promulgated by the Department of Housing and Urban Development ("HUD"). 1 Any violations

of Plaintiff's obligations can result in termination of housing assistance. 2

               3.       HANO proposed termination of Plaintiff's housing assistance after finding

that Plaintiff violated certain obligations set forth in the HUD regulations. 3 Pursuant to 24 C.F.R.

§ 982.555(a) and 42 U.S.C. § 1437d(k), Plaintiff requested an informal hearing regarding the

proposed termination, which was held on April 1, 2024. Upon review of the record and evidence

in the course of the informal hearing, HANO determined that the decision to terminate Plaintiff's

housing assistance should be upheld, based on the following violations: (1) Plaintiff's failure to

supply information and documents as required under 24 C.F.R. § 982.551(b)(2); (2) Plaintiff's

failure to provide truthful and complete information in violation of 24 C.F.R. § 982.551(b)(4); and

(3) Plaintiff's allowing an unauthorized occupant to reside in the unit in violation of 24 C.F.R. §

982.551(h)(2).4

               4.       After receiving HANO's Informal Hearing Decision, Plaintiff then filed the

Petition claiming in general terms that HANO's decision to terminate her housing was "arbitrary

and capricious, an abuse of discretion, not based on substantial evidence, and contrary to [federal]

law . . . ."5 Plaintiff further alleged more particularly that the decision to terminate violated 24

C.F.R. § 5.2005 because Plaintiff is the victim of domestic violence and the termination allegedly




1
       See generally 24 C.F.R. § 982.551 (listing obligations of Program participants).
2
       See id. at §§ 982.552 and 982.553.
3
       Plaintiff's Pet. at ¶ 4.
4
       A copy of HANO's Informal Hearing Decision is attached hereto as Ex. B.
5
       Plaintiff's Pet. at ¶ 10; see also ¶¶ 14 – 25, in which Plaintiff sets out the "Statutory and
       Regulatory Background" of her claims and cites exclusively to provisions of the Code of
       Federal Regulations applicable to the "Section 8 Housing Choice Voucher ("HCV")
       program . . . established by Congress."

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contravenes HUD regulations setting forth protections for domestic violence victims. 6 Thus, all

of Plaintiff's causes of action are grounded in federal law, thereby giving rise to federal question

jurisdiction.7

                 5.    As set out more fully below, this case is properly removed to this Court

pursuant to 28 U.S.C. § 1441 because HANO has satisfied the procedural requirements for removal

and this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1441,

and 1446.

                 6.    HANO now files this Notice of Removal based on the grounds asserted

herein, and promptly upon the filing of same, is also filing a Notice of Filing of Notice of Removal

in the state court in which this case was previously pending.

I.      HANO HAS          SATISFIED       THE     PROCEDURAL           REQUIREMENTS             FOR
        REMOVAL.

                 1.    This Court has jurisdiction over this civil action under 28 U.S.C. § 1331,

which vests federal courts with original jurisdiction over causes of action created by federal law,

because Plaintiff asserts claims based on alleged violations of 24 C.F.R. § 982.1, et seq.; Section

8 of the U.S. Housing Act of 1937, 42 U.S.C. § 1437f, and federal regulations associated therewith;



6
        See id. at ¶¶ 91-95, 102-109 ("The hearing officer's decision . . . violated VAWA and was
        contrary to law . . . and was therefore arbitrary and capricious."). 24 C.F.R. § 5.2005 of
        HUD's regulations incorporates provisions from the Violence Against Women Act
        ("VAWA").
7
        See, e.g., Mire v. DISA Glob. Sols., Inc., No. 18-137-BAJ-RLB, 2018 WL 3245085, at *3
        (M.D. La. June 11, 2018) (To determine whether federal-question jurisdiction exists, the
        court examines "'the face of the complaint [for] some substantial, disputed question of
        federal law.'"); Howery v. Allstate Ins. Co., 243 F.3d 912, 917 (5th Cir. 2001) ("'To bring
        a case within the [federal question jurisdiction] statute, a right or immunity created by the
        Constitution or laws of the United States must be an element, and an essential one, of the
        plaintiff's cause of action.'") (quoting Gully First Nat'l Bank in Meridian, 299 U.S. 109,
        112 (1936)).

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and 24 C.F.R. § 5.2005. Accordingly, this dispute and the resolution thereof involves the

construction, application, and effect of federal law.

                2.      This Notice of Removal is being filed within thirty (30) days of HANO's

receipt of service of the citation and the Petition on July 26, 2024, and is thus timely filed under

28 U.S.C. § 1446(b). There exists an actual and justiciable controversy between Plaintiff and

HANO with regard to the legal issues herein and this controversy is within the jurisdiction of this

Court.

                3.      Venue for removal is proper in this district and division under 28 U.S.C. §

1441(a) because this district and division embrace the place in which the removed action was

pending, the Civil District Court for the Parish of Orleans, State of Louisiana.

                4.      No previous application has been made for the relief requested herein.

                5.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings orders and

all other filings in the state court action are attached as Exhibit C.

                6.      Pursuant to 28 U.S.C. § 1446(d), written notice of filing of the Notice of

Removal will be given to all adverse parties promptly after filing of same. See Exhibit D.

                7.      Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal is being filed with the Clerk of Court for the Civil District Court for the Parish of Orleans,

State of Louisiana. See Exhibit D.

                8.      HANO is the sole defendant named in Plaintiff's Petition. Accordingly,

pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants who have been properly joined and served

consent to the removal of this action.

                9.      The Notice of Removal is signed pursuant to Rule 11 of the Federal Rules

of Civil Procedure and the Local Civil Rules of this District Court.


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II.     REMOVAL IS PROPER BECAUSE THE COURT HAS SUBJECT MATTER
        JURISDICTION PURSUANT TO 28 U.S.C. § 1331.

                1.      Removal is proper under 28 U.S.C. § 1441 because the Court has original

jurisdiction pursuant to 28 U.S.C. § 1331, which states that federal courts have "original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States."8

                2.      Plaintiff's claims are based on federal statutes and the regulations

promulgated thereunder and therefore "aris[e] under the Constitution, laws or treaties of the United

States."9 Even if the Petition did not plead a federal cause of action, federal question jurisdiction

pursuant to 28 U.S.C. § 1331 does not require that a complaint plead a federal cause of action. 10

Rather, a complaint must only involve a "'controversy respecting the construction and effect of the

[federal] laws'" which controversy is "'sufficiently real and substantial.'" 11

                3.      For example, this Court has held that claims governed by federal law,

including the U.S. Housing Act of 1937 and HUD regulations promulgated thereunder, conferred

federal question jurisdiction because resolution of the dispute required the Court to interpret

federal regulations, which could in turn could impact how HUD administered the Section 8

Voucher Program.12 Moreover, jurisdiction under 28 U.S.C. § 1331 has been found even when


8
        Zeigler v. Hous. Auth. of New Orleans, No. 10-2956, 2011 WL 39008, at *3 (E.D. La. Jan.
        5, 2011).
9
       28 U.S.C. § 1331.
10
        Grable & Sons Metal Prods., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308 (2005).
11
        Id. at 316; Drawhorn v. Qwest Commc'ns Int’l, Inc., 121 F. Supp. 2d 554, 562 (E.D. Tex.
        2000).
12
        BFNO Properties, LLC v. Hous. Auth. of New Orleans, No. 15-300, 2015 WL 1737844
        (E.D. La. Apr. 16, 2015); see also One & Ken Valley Hous. Grp. v. Me. State Hous. Auth.,
        716 F.3d 218, 223-225 (1st Cir. 2013) (finding federal question jurisdiction existed over
        HAP contract [Housing Assistance Payments Contract] dispute between state housing
        authority and owner of housing rental projects because the dispute involved a "federal
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the federal regulation at issue does not provide a private right of action, where resolution of the

matter depended upon the court's determination of whether the defendant breached its duty under

federal law.13

                 4.     As in BFNO and Pendleton, the claims alleged in the Petition arise under

federal law and are governed by federal law; and therefore, resolution of this matter requires

construction of federal law and regulations. Simply put, it is impossible to determine whether

HANO's decision to terminate Plaintiff's housing assistance was improper without resort to federal

law and regulations.

                 5.     Accordingly, removal is proper pursuant to 28 U.S.C. §§ 1331 and 1441.

III.   CONCLUSION

                 Resolution of this dispute will require analysis of intricate federal regulations and

insight into how those regulations govern the relationship between HANO, a political subdivision

of the State of Louisiana, and HUD, a federal agency. Further, interpretation of the federal housing

law and regulations in dispute arguably will impact future litigation concerning HANO's

application of HUD regulations, which in turn could affect how HANO administers the federal

Section 8 housing voucher program. Thus, this Court is properly vested with subject matter

jurisdiction over Plaintiff's claims under 28 U.S.C. § 1331.



       contractor's implementation of a federal program; the contracts at issue were drafted and
       approved by a federal agency and signed by a federal official; and plaintiffs allege that the
       contractor [state housing authority] was in breach of the agreement by following a
       guideline promulgated by a federal agency pursuant to a federal statute."); Evergreen
       Square of Cudahy v. Wis. Hous. & Econ. Dev. Auth., 776 F.3d 463, 467 (7th Cir. 2015)
       (finding federal question jurisdiction existed where "resolution of [the] case turn[ed] on
       issues of federal law—specifically, the application of 42 U.S.C. § 1437f and related
       regulations and notices promulgated by HUD.").
13
       Pendleton Pines Assocs., L.L.C. v. Ledic Mgmt., L.L.C., 354 F. Supp. 2d 775 (W.D. Tenn.
       2005).

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               WHEREFORE, Defendant, Housing Authority of New Orleans, prays that this

Notice of Removal will be deemed good and sufficient and that this matter will be removed from

the docket of the Civil District Court for the Parish of Orleans and accepted onto this Court's

docket.

Date: July 29, 2024                          Respectfully submitted,

                                             /s/ Kathryn M. Knight
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                                             Attorneys for Housing Authority of New Orleans


                                    CERTIFICATE

               I hereby certify that a copy of the above and foregoing Notice of Removal has been

served upon all counsel of record by placing same in the United States mail, postage prepaid and

properly addressed and by e-mail, this 29th day of July, 2024.

                                                     /s/ Kathryn M. Knight




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